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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 OWNERS INSURANCE COMPANY,

       Plaintiff,
                                            Civil Action
 v.                                         File No.: 1:22-cv-00352-MLB

 TIDEWATER FLEET SUPPLY, LLC;
 PARTS SOUTH OF GEORGIA, INC.;
 JASON L. McCARD; EDWIN DALE
 ADAMS; RUSSELL K. PERRY; and
 JOSEPH R. VEITCH,

       Defendants.

      OWNERS INSURANCE COMPANY’S INITIAL DISCLOSURES

      Pursuant to Rule 26(a)(1)(A) of the Federal Rules of Civil Procedure and

Local Rule 26.1, Plaintiff Owners Insurance Company (“Owners”) provides the

following as its initial disclosures. These disclosures are made prior to discovery,

and after making a good faith inquiry and investigation as is reasonable under the

circumstances. This investigation is continuing, and Owners reserves the right to

correct and/or supplement these disclosures pursuant to Rule 26(e) should it become

aware of additional relevant information.

      By making the following disclosures, Owners does not represent that it is

identifying every fact, document, tangible thing, witness, statute, or case relevant to
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this lawsuit. In addition, the Owners does not waive its rights to object to any

discovery request or proceeding involving or relating to these disclosures on any

grounds, including competency, privilege, the work product doctrine, relevancy,

hearsay, materiality, undue burden, or any other valid objection.

      Furthermore, these disclosures are not an admission by Owners regarding any

matter. All of the disclosures set forth below are made subject to the above

qualifications.

                                           1.

      State precisely the classification of the cause of action being filed, a brief

factual outline of the case including plaintiff’s contentions as to what defendant did

or failed to do, and a succinct statement of the legal issues in the case.

      Response:

      Owners seeks a declaratory judgment from this Court, pursuant to Rule 57 of

the Federal Rules of Civil Procedure and 28 U.S.C. § 2201, to declare the rights and

other legal relations surrounding questions of actual controversy that presently exist

between Owners and Defendants under policies of liability insurance.

      Specifically, Owners filed this declaratory judgment action to determine the

extent, if any, of their obligations to defend or indemnify Parts South of Georgia Inc.

(“PSG”) under a commercial general liability insurance policy issued by Owners to
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“Complete Parts, Inc.” policy number 154618-80037226-15. This policy was

renewed each year consecutively through April 8, 2019, and the renewed policies

provided identical coverage. The initial and renewed policies shall hereinafter be

collectively referred to as “Policy I.” Owners then issued a policy to PSG, policy

number 154618-80037226-19, with an effective policy period of April 8, 2019

through April 8, 2020 (“Policy II”).

      The declaratory judgment action concerns, and is filed in connection with,

allegations by Tidewater Fleet Supply LLC (“TFS”) that Jason L. McCard, Edwin

Dale Adams, Russell K. Perry, and Joseph R. Veitch conspired to implement a

scheme to unfairly compete with TFS by: (i) sabotaging TFS’ business operations;

(ii) surreptitiously preparing to divert and then soliciting TFS’ customers and

supplier business that was developed using TFS’ resources; and (iii) soliciting other

TFS employees to fill PSG’s roster across all job functions in various PSG offices

when then launched operations and began diverting customers and business from

TFS more quickly than they otherwise would have had PSG not established its

branches. The First Amended Complaint filed in the Underlying Lawsuit asserted

the following causes of action: Count I – Breach of Fiduciary Duty/Faithless

Servant; Count II – Aiding and Abetting Breach of Fiduciary Duty; Count III –

Tortious Interference with Existing and Prospective Business Relations; Count IV –
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Raiding Employees; Count V – Business Disparagement; Count VI – North Carolina

Unfair and Deceptive Trade Practices Act; and Count VII – Civil Conspiracy.

However, liability coverage under Policy I and Policy II for the circumstances

surrounding the Underlying Lawsuit is questionable.

      Per the unambiguous terms of Policy I and Policy II, liability coverage for the

Underlying Lawsuit is questionable because of the following:

      (1) The Underlying Lawsuit does not seek damages for a defined injury per

the terms of Policy I and Policy II (i.e. damages for “bodily injury”, “property

damage”, “personal injury”, “advertising injury”, and/or “[p]ersonal and advertising

injury.”

      (2) The Underlying Lawsuit alleges that PSG, McCard, Adams, Perry, and

Veitch engaged in conduct that was “willful, malicious, intentional and calculated”,

the damages at issue therefore were “expected or intended from the standpoint of

[PSG, McCard, Adams, Perry, and Veitch].”

      (3) The Underlying Lawsuit alleges that PSG, McCard, Adams, Perry, and

Veitch engaged in conduct that was “willful, malicious, intentional and calculated”

and therefore the damages at issue are excluded from coverage because PSG,

McCard, Adams, Perry, and Veitch acted with knowledge that their acts would

violate the rights of another and would inflict “personal injury” or “advertising
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injury” or “personal and advertising injury.” Further, Defendant published material

with knowledge of its falsity.

      (4) Policy I insures only Complete Parts Inc. as a named insured and does not

otherwise insure PSG, McCard, Adams, Perry, or Veitch as either named insureds,

as insureds under Policy I’s “WHO IS AN INSURED” provision, or as insureds

under any other provision of Policy I.

      (5) Policy II insures only Parts South of Georgia Inc. as a named insured and

does not otherwise insure McCard, Adams, Perry, or Veitch as either named

insureds, as insureds under Policy II’s “WHO IS AN INSURED” provision, or as

insureds under any other provision under Policy II.

      (6) The claims in the Underlying Lawsuit occurred or began prior to the

inception of Policy II, and, as a result, no coverage is afforded under Policy II.

      (7) The claims in the Underlying Lawsuit are based upon publications that

took place prior to the inception of Policy II and may be excluded as “personal and

advertising injury” whose first publication took place prior to the beginning of the

policy period.

      Thus, because the Underlying Lawsuit does not trigger liability coverage

under Policy I and II, and because liability coverage for the Underlying Lawsuit is

otherwise excluded or limited under Policy I and Policy II, Owners is uncertain as
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to their legal duties and/or obligations under Policy I and Policy II and seek to have

such rights and duties determined by this Court in order to avoid the possible accrual

of damages.

      Accordingly, Owners seeks a declaratory judgment from this Court, pursuant

to Rule 57 of the Federal Rules of Civil Procedure and 28 U.S.C. § 2201, to declare

the rights and other legal relations surrounding questions of actual controversy that

presently exist between Owners and the Defendants under Policy I and Policy II.

      The legal issues to be determined are as follows:

      (1)     Whether the Underlying Lawsuit triggers liability coverage in favor of

PSG, McCard, Adams, Perry, or Veitch under Policy I and/or Policy II;

      (2)     Whether liability coverage is excluded or otherwise limited for Policy

I and/or Policy II.

      (3) Whether Owners owes a duty to defend or indemnify PSG, McCard,

Adams, Perry, or Veitch in the Underlying Lawsuit.

      Because of the above-discussed circumstances, Owners is uncertain as to its

legal duties and/or obligations under Policy I and Policy II and seeks to have such

rights and duties determined by this Court in order to avoid the possible accrual of

damages.


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                                         2.

      Describe in detail all statutes, codes, regulations, legal principles, standards

and customs or usages, and illustrative case law which plaintiff contends are

applicable to this action.

      Response:

      The following list of authority is not intended to be a final or complete

recitation of the law upon which the Insurers will rely in its prosecution of their

Complaint for Declaratory Judgment:

      (a) Insurance contract interpretation. O.C.G.A. § 33-24-16; Fidelity & Deposit

Co. of Maryland v. Sun Life Ins. Co. of America, 174 Ga. App. 258 (1985); Brown

v. Peninsular Fire Ins. Co., 171 Ga. App. 507 (1984); Nelson v. So. Guaranty Ins.

Co., 221 Ga. 804 (1966); Georgetown Mortg., Inc. v. OHIC Ins. Co., 267 Ga. App.

318 (2004); Allstate Ins. Co. v. Airport Mini Mall, Ltd. Liab. Co., 265 F. Supp. 3d

1356 (N.D. Ga. 2017) (collecting and summarizing Georgia case law regarding

issues of untimely notice); Progressive Mt. Ins. Co. v. Kaufman, 2020 U.S. Dist.

LEXIS 145828 (N.D. Ga. Aug. 13, 2020); Ill. Union Ins. Co. v. NRI Constr., 846 F.

Supp. 2d 1366 (N.D. Ga. 2012); Cotton States Mut. Ins. Co. v. International Surplus

Lines Ins. Co., 652 F. Supp. 851 (N.D. Ga. 1986); Richmond v. Georgia Farm Bur.

Mut. Ins. Co., 140 Ga. App. 215 (1976); Bituminous Casualty Corp. v. J. B. Forrest
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& Sons, Inc., 132 Ga. App. 714 (1974); Hathaway Dev. Co. v. Ill. Union Ins. Co.,

274 Fed. Appx 787 (11th Cir. Apr. 18, 2008); Auto Owners Ins. Co. v. Gay Constr.

Co., 332 Ga. App. 757 (2015).

      (b) The terms and conditions of the Policies.

      (c) The statutes, rules, and case law set forth above are illustrative of the

principles which Owners contends are applicable to this action. The list is not

intended by Owners to be an exhaustive list of all authority applicable to this

litigation and which may become known to Owners during the course of this action.

                                        3.

      Provide the name and, if known, the address and telephone number of each

individual likely to have discoverable information that you may use to support your

claims or defenses, unless solely for impeachment, identifying the subjects of the

information.

      Response:

      See Attachment “A”.

                                        4.

      Provide the name of any person who may be used at trial to present evidence

under Rules 702, 703, or 705 of the Federal Rules of Evidence. For all experts


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described in Fed.R.Civ.P. 26(a)(2)(B), provide a separate written report satisfying

the provisions of that rule.

      Response:

      Owners has not at this time identified any person who may be used at trial to

present evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence.

Owners will timely supplement their response to this Initial Disclosure if and when

necessary.

                                         5.

      Provide a copy of, or a description by category and location of, all documents,

data compilations or other electronically stored information, and tangible things in

your possession, custody, or control that you may use to support your claims or

defenses unless solely for impeachment, identifying the subjects of the information.

      Response:

      See Attachment “C”.

                                         6.

      In the space provided below, provide a computation of any category of

damages claimed by you. In addition, include a copy of, or describe by category and

location of, the documents or other evidentiary material, not privileged or protected

from disclosure, on which such computation is based, including materials bearing
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on the nature and extent of injuries suffered, making such documents or evidentiary

material available for inspection and copying as under Fed.R.Civ.P. 34.

      Response:

      Owners is currently seeking only a determination of its obligations to

Defendants under the terms and conditions of Policy I and Policy II. Currently,

Owners is not seeking any damages. However, Owners retains the right to amend

and/or supplement this response in accordance with the Federal Rules and this

Court’s Local Rules.

                                          7.

      Attach for inspection and copying as under Fed.R.Civ.P. 34 any insurance

agreement under which any person carrying on an insurance business may be liable

to satisfy part or all of a judgment which may be entered in this action or to

indemnify or reimburse for payments made to satisfy the judgment.

      Response:

      Not applicable. However, in a good faith effort to be responsive to the spirit

of this Initial Disclosure, Owners states that true and accurate copies of Policy I and

Policy II can be found on the Court’s docket at [Doc. Nos. 1-3 & 1-4]. Owners shall

also make a certified copy of the insurance policies at issue in this matter available

for review and copying upon request.
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                                            8.

      Disclose the full name, address, and telephone number of all persons or legal

entities who have a subrogation interest in the cause of action set forth in plaintiffs

cause of action and state the basis and extent of such interest.

      Response:

      Not applicable at this time. Owners will timely supplement its response to this

Initial Disclosure if and when necessary.

      This 11th day of April, 2022.

                                        Respectfully submitted,

                                        KENDALL | MANDELL, LLC


                                        /s/ Michael C. Kendall, II
                                        Michael C. Kendall
                                        Georgia Bar No. 414030
                                        Michael C. Kendall, II
                                        Georgia Bar No. 510402
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                                  Attachment “A”

1.     Owners Insurance Company. Owners may be contacted through the
undersigned counsel of record. Owners has knowledge regarding the claims and
allegations which are the subject of this litigation, coverage defenses to the same,
and the policies issued.

2.     Tidewater Fleet Supply, LLC. Tidewater may be contacted through its counsel
of record. Tidewater likely has information and knowledge concerning the claims
and allegations which are the subject of this litigation and the underlying lawsuit, as
well as the alleged damages.

3.     Parts South of Georgia, Inc. PSG may be contacted through its counsel of
record. PSG likely has information and knowledge concerning the claims and
allegations which are the subject of this litigation and underlying lawsuit, coverage
issues respecting the same, and the policies issued.

5.     Jason L. McCard. Jason may be contacted through his counsel of record. Jason
likely has information and knowledge regarding the claims and allegations which
are the subject of this litigation and the underlying lawsuit.

6.     Edwin Dale Adams. Edwin may be contacted through his counsel of record.
Edwin has information and knowledge regarding the claims and allegations which
are the subject of this litigation and the underlying lawsuit.

7.     Russell K. Perry. Russell may be contacted through his counsel of record.
Russell has information and knowledge regarding the claims and allegations which
are the subject of this litigation and the underlying lawsuit.

8.     Joseph R. Veitch. Joseph may be contacted through his counsel of record.
Joseph has information and knowledge regarding the claims and allegations which
are the subject of this litigation and the underlying lawsuit.

9.    Any and all other individuals and/or entities identified and/or designated by
any other party to this matter.

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      Owners further states that discovery has just begun in this case and it will
supplement this information in accordance with the Federal Rules of Civil
Procedure.




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                                  Attachment “C”

1.     The liability insurance policy between Owners Insurance Company and
“Complete Parts, Inc.” policy number 154618-80037226-15. This policy was
renewed each year consecutively through April 8, 2019,and the renewed policies
provided identical coverage. The initial and renewed policies shall be collectively
referred to as “Policy I.”

2.    The liability insurance policy between Owners Insurance Company and “Parts
South of Georgia, Inc.” policy number 154618-80037226-19, with an effective term
of April 8, 2019 through April 8, 2020 (“Policy II”).

3.   Reservation of rights letter to Parts South Georgia, Inc., Jason L. McCard,
Edwin Dale Adams, Russell K. Perry, and Joseph R. Veitch.

4.   The underlying lawsuit, as well as the pleadings, discovery, and other
documents filed in, exchanged in, and related to the underlying lawsuit.

5.     Correspondence amongst or between Owners and/or any parties to this dispute
relating to coverage obligations under Policy I and Policy II that is not privileged or
otherwise protected from disclosure;

6.    Other documents/pleadings identified and/or designated by any other party to
this matter.

      Owners further state that discovery has just begun in this case and it will
supplement this information in accordance with the Federal Rules of Civil
Procedure.




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    CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 5.1(B)

      Pursuant to Local Rule 7.1(D), counsel hereby certifies that the foregoing

has been prepared with a font and point selection approved by Local Rule 5.1(B)

(specifically, Times New Roman, 14 point).




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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

OWNERS INSURANCE COMPANY,

       Plaintiff,
                                           Civil Action File
v.                                         No.: 1:22-cv-00352-MLB

TIDEWATER FLEET SUPPLY, LLC;
PARTS SOUTH OF GEORGIA, INC.;
JASON L. McCARD; EDWIN DALE
ADAMS; RUSSELL K. PERRY; and
JOSEPH R. VEITCH,

       Defendants.

                         CERTIFICATE OF SERVICE
      I hereby certify that I have this day served or caused to be served a copy of

the within and foregoing Owners Insurance Company’s Initial Disclosures in

this matter by electronically filing the same with the Court via the CM/ECF system

to the following counsel of record:

Wayne M. Cartwright, Esq                   David L. Pardue, Esq.
HALL, GILLIGAN, ROBERTS &                  Brian David Stoltz, Esq.
SHANLEVER, LLP                             PARKER POE
3349 Peachtree Road, Suite 1900            1075 Peachtree Street NE, Suite 1500
Atlanta, Georgia 30326                     Atlanta, Georgia 30309

      This 11th day of April, 2022.

                                       /s/ Michael C. Kendall, II
                                       Michael C. Kendall, II
